8:12-cr-00311-JFB-MDN        Doc # 263     Filed: 12/06/12     Page 1 of 1 - Page ID # 465



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR311
       vs.                                 )
                                           )                       ORDER
COREY ARNOLD,                              )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION FOR EXPANSION OF TIME
TO FILE PRETRIAL MOTIONS [259]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 30-day extension. Pretrial
Motions shall be filed by January 4, 2013.

       IT IS ORDERED:

     1.    Defendant's MOTION FOR EXPANSION OF TIME TO FILE PRETRIAL
MOTIONS [259] is granted. Pretrial motions shall be filed on or before January 4, 2013.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between December 5, 2012 and
January 4, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 6th day of December, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
